Case 1:09-cr-00466-BMC-RLM Document 679 Filed 03/16/21 Page 1 of 2 PageID #: 18185

                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
  MPR:BCR                                            271 Cadman Plaza East
  F. #2009R01065                                     Brooklyn, New York 11201


                                                     March 16, 2021

  By ECF

  The Honorable Brian M. Cogan
  United States District Judge
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                Re:    United States v. Joaquin Archivaldo Guzman Loera
                       Criminal Docket No. 09-466 (S-4) (BMC)

  Dear Judge Cogan:

                  In the course of preparing the appeal in the above-captioned case, the
  government has had occasion to review sealed portions of trial transcripts and determined that,
  in two instances, the reasons originally justifying sealing are no longer applicable.
  Accordingly, the government respectfully moves that the Court unseal the following pages of
  trial transcripts:

                -Pages 3407-3410 (December 18, 2018)
                -Pages 6935-6962 (February 4, 2019)

                  Both of these sealed parts of the trial record concern the Court’s interactions
  with members of the jury. However, unsealing these portions will not identify members of the
  jury nor risk revealing details of any of the precautions taken to ensure the jury’s anonymity
Case 1:09-cr-00466-BMC-RLM Document 679 Filed 03/16/21 Page 2 of 2 PageID #: 18186




  and privacy. The government has consulted with counsel for the defendant, and the defendant
  does not object to unsealing these portions of the trial transcript.

                                                   Respectfully submitted,

                                                   SETH DUCHARME
                                                   ACTING UNITED STATES ATTORNEY
                                                   Eastern District of New York
                                                   271 Cadman Plaza East
                                                   Brooklyn, New York 11201

                                                   ARTHUR G. WYATT, CHIEF
                                                   Narcotic and Dangerous Drug Section
                                                   Criminal Division,
                                                   U.S. Department of Justice

                                                   OF COUNSEL:

                                                   ARIANA FAJARDO ORSHAN
                                                   UNITED STATES ATTORNEY
                                                   Southern District of Florida


  cc:    Clerk of Court (BMC) (via ECF)
         Defense Counsel (via Email)




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